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ORIGINAL
                     IN THE UNITED STATES DISTRICT COURT


                          FOR THE DISTRICT OF HAWAII


   GULSTAN E. SILVA, JR., as                CIV. NO. 15-00436 HG-KJM
   Personal Representative of the
   Estate of Sheldon Paul Haleck,
                                                             FILED IN THE
                                                      UNITED STATES DISTRICT COURT
                     Plaintiff,
                                                          DISTRICT OF HAWAII

               vs.                                           JUN - 6 2019

   CHRISTOPHER CHUNG; SAMANTHA
                                                      at ^^'clock and_^min.£_
                                                          SUE BEITIA, CLERK
   CRITCHLOW; AND STEPHEN KARDASH,

                     Defendants.




                              SPECIAL VERDICT FORM




         The jury must answer all of the questions, unless otherwise

   indicated.    To understand what issues are being submitted to you,

   you may wish to read over the entire Special Verdict Form before

   proceeding to answer.      Answer the questions in numerical order.

   Follow all directions carefully.        Each answer requires the

   agreement of all jurors.        If you do not understand any questions

   or if you wish to communicate with the Court on any other

   subject, you must do so in writing through the Courtroom Manager.
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  1.    Has Plaintiff Gulstan E. Silva, Jr. proved by a

  preponderance of the evidence that Defendant Christopher Chung

  and/or Defendant Samantha Critchlow and/or Defendant Stephen

  Kardash used excessive force against Sheldon Paul Haleck, thereby

  violating his Fourth Amendment rights under the United States

  Constitution?



        1(a) Defendant Christopher Chxing        YES     ■          NO   v/
        1(b) Defendant Samantha Critchlow YES                       NO \/^
        1(c) Defendant Stephen Kardash           YES                NO



        If you answered "YES" to any of Questions Number 1(a), 1(b),

  or 1(c), please proceed to Question Number 2.

        If you answered "NO" to all of Questions Number 1(a), 1(b),

  and 1(c), please skip the remaining questions, have the

  Foreperson sign and date this Special Verdict Form, and advise

  the Courtroom Manager that you have reached a verdict.



  2.    As to any defendant you found used excessive force in

  violation of the Fourth Amendment to the United States


  Constitution, did Plaintiff Gulstan E. Silva, Jr. establish by a

  preponderance of the evidence that such defendant's use of

  excessive force caused injuries and/or death to Sheldon Paul

  Haleck?
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        2(a) Defendant Christopher Chung         YES                NO

        2(b) Defendant Samantha Critchlow        YES                NO

        2(c) Defendant Stephen Kardash           YES                NO



        If you answered "YES" to any of Questions Number 2(a), 2(b),

  or 2(c), please proceed to Question Number 3.

        If you answered "NO" to all of Questions Number 2(a), 2(b),

  and 2(c), please skip the remaining questions, have the

  Foreperson sign and date this Special Verdict Form, and advise

  the Courtroom Manager that you have reached a verdict.



  3.    On the issue of Plaintiff Gulstan E. Silva Jr.'s damages

  against Defendant Christopher Chung and/or Defendant Samantha

  Critchlow and/or Defendant Stephen Kardash:

        You are to answer this Question only if you answered "YES"

  to any of Questions Number 2(a), 2(b), or 2(c).

        In other words, answer this Question only if you find

  Defendant Christopher Chung and/or Defendant Samantha Critchlow

  and/or Defendant Stephen Kardash liable for injuries and/or death

  caused to Sheldon Paul Haleck by their use of excessive force in

  violation of the Fourth Amendment to the United States

  Constitution.

        By a preponderance of the evidence, what are Plaintiff
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  Gulstan E. Silva, Jr.'s total compensatory damages (1£ you find

  no compensatoiry damages, then award nominal deuaages of not more

  than one dollar)?


          Against Defendant Christopher Chung          $

          Against Defendant Ssunantha Critchlow        $

          Against Defendant Stephen Kardash            $



                               JURY CERTIFICATE


          THE VERDICT MUST BE UNANIMOUS AND MUST BE SIGNED BY THE JURY


  FOREPERSON.




                 DATED: Honolulu, Hawaii, JLvUL                     # 2019.


                                     SIGNED:




  Gulstan E. Silva. Jr.. as Personal Representative of the Estate
  of Sheldon Paul Haleck v. Christopher Chung; Samantha Critchlow;
  and Stephen Kardash. Civ. No. 15-00436 HG-KJM; Special Verdict
   Form                                 4
